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                                                                                                        E-FILED
                                                                 Thursday, 17 September, 2020 10:49:06 AM
                                                                               Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION


STEVEN F. KELLMANN,                                   )
                                                      )
                               Plaintiff,             )
                                                      )       Case No. 3:18-CV-03242-SEM-TSH
       v.                                             )
                                                      )       The Honorable Sue E. Myerscough
JOHN R. BALDWIN, et al.,                              )
                                                      )
                               Defendants.            )


                                  NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that the undersigned is admitted or otherwise authorized to

practice in this court, and hereby enters an appearance in this case as counsel for Plaintiff, Steven

Kellmann.



                                                      Respectfully Submitted,



                                                      By:     /s Jalexus M. Osborne
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                              SPRINGFIELD DIVISION


STEVEN F. KELLMANN,                                )
                                                   )
                             Plaintiff,            )
                                                   )      Case No. 3:18-CV-03242-SEM-TSH
       v.                                          )
                                                   )      The Honorable Sue E. Myerscough
JOHN R. BALDWIN, et al.,                           )
                                                   )
                             Defendants.           )


                                CERTIFICATE OF SERVICE

       I hereby certify that on September 17, 2020, I filed an electronic copy of the foregoing

Notice of Appearance with the Clerk of Court using the CM/ECF system, which will send notice

of the same to Defendants’ attorney below:



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